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     A Professional Law Corporation
 2   428 J Street, 3rd Floor
     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     WALDO PEREZ MENDOZA
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,          )   No. CR-S 11-076 LKK
                                        )
12                  Plaintiff,          )
                                        )   STIPULATION AND ORDER VACATING
13        v.                            )   DATE, CONTINUING CASE, AND
                                        )   EXCLUDING TIME
14   CRESCENCIO DELGADO-EZQUIVEL        )
     ARMANDO VASQUEZ-BARRAGAN           )
15   WALDO PEREZ MENDOZA                )   Date   May 24 , 2011
     NORMA GONZALEZ,                    )   Time: 9:15 a.m.
16   VICTOR GONZALEZ,                   )   Judge: Hon. Karlton
                     Defendants.
17
     _______________________________
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Samuel Wong, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant Waldo Perez Mendoza; Attorney Douglas
21
     Beevers, Counsel for Crescencio Delgado-Esquivel; Attorney Danny Brace,
22
     Counsel for Armando Vasquez-Barragan; Attorney Michael Hansen, Counsel
23
     for Norma Gonzalez, Attorney Dwight Samuel, Counsel for Victor
24
     Gonzalez, that the status conference scheduled for April 26, 2011, be
25
     vacated and the matter be continued to this Court's criminal calendar
26
     on May 24, 2011, at 9:15 a.m. for further status.
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          This continuance is requested by the defense in order to permit
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 1   counsel to conduct investigation, review discovery, and engage in
 2   negotiations with the prosecution in attempt to reach a plea agreement.
 3         IT IS FURTHER STIPULATED that time for trial under the Speedy
 4   Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 5   3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
 6   ends of justice served in granting the continuance and allowing the
 7   defendant further time to prepare outweigh the best interests of the
 8   public and the defendant in a speedy trial.
 9         The Court is advised that all counsel have conferred about this
10   request, that they have agreed to the May 24, 2011 date, and that all
11   counsel have authorized Ms. Santos to sign this stipulation on their
12   behalf.
13
14
15         IT IS SO STIPULATED.
16
17   Dated: April 20, 2011                    /S/ Dina L. Santos
                                             DINA L. SANTOS
18                                           Attorney for
                                             Waldo Mendoza-Perez
19
     Dated: April 20, 2011                    /S/ Douglas Beevers
20                                           DOUGLAS BEEVERS
                                             Attorney for
21                                           Crescencio Delgado-Esquivel
22   Dated: April 20, 2011                    /S/ Danny Brace
                                             DANNY BRACE
23                                           Attorney for
                                             Armando Vasquez-Barragan
24
     Dated: April 20, 2011                    /S/ Michael Hansen
25                                           MICHAEL HANSEN
                                             Attorney for
26                                           Norma Gonzalez
27   Dated: April 20, 2011                    /S/ Dwight Samuel
                                             DWIGHT SAMUEL
28                                           Attorney for


     Stipulation and Order                   2
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 1                                           Victor Gonzalez
 2
 3   Dated: April 20, 2011                    /S/ Samuel Wong
                                             SAMUEL WONG
 4                                           Assistant United States Attorney
                                             Attorney for Plaintiff
 5
 6
 7
                                        O R D E R
 8
           IT IS SO ORDERED.
 9
                       By the Court,
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11
     Dated: April 25, 2011
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     Stipulation and Order                   3
